The court did not err in sustaining the general demurrer to the declaration in attachment and dismissing the same.
                       DECIDED SEPTEMBER 30, 1944.
On September 16, 1943, Roy T. Dean sued out an attachment returnable to the May term, 1944, of Glynn superior court for the sum of $225 against Mrs. Austin Hill, alleging that Mrs. Hill was about to remove beyond the limits of the county, and that she was a non-resident of the State. Later he filed his declaration, which, as amended, alleged: "(1) Mrs. Austin Hill is indebted to your petitioner in the sum of $225 by and due under certain damages arising out of and in connection with a rent violation under the rental regulation for housing as promulgated by the Office of Price Administration as authority granted by act passed by Congress known as Document 4523, Title 32, National Defense, Chap. 11, of the Office of Price Administration, and known to be a violation of Maximum Rent Regulation No. 45; and provision thereunder known as § 1388.8060, known as Enforcement, provides [that] *Page 593 
persons violating any provision of this Maximum Rent Violation No. 45 are subject to criminal-penalty, and civil-enforcement action, and suit for treble damages, as provided by said act; (2) . . that the maximum rent for the apartment leased by him from said defendant was the sum of $7 per week; that said defendant in violation of said rental regulations charged your petitioner the sum of $3 per week more than the maximum rent allowed for the rental of said accommodations rented by him from the defendant; (3) . . that he rented from said defendant from September 8, 1942, to March 1, 1943, having for a period of twenty-five weeks paid an excess rent of $3 per week, and by and through said act is justly and legally entitled to collect damages in the sum of treble the amount paid for the overcharge paid to defendant herein by your petitioner, thus makes demand for judgment of and against said defendant in the sum of $225; (4) . . that he has demanded said sum from said defendant which she has refused to pay all or any part thereof; (5) . . in order to enforce the collection of said indebtedness he did on the 16th day of September, 1943, sue out before H. D. Symons, justice of the peace in and for said county, an attachment against Mrs. Austin Hill returnable to the May term of the superior court of said county; the attachment was served by W. E. Owens, deputy sheriff of said county, and levied on 1 Baby Grand piano and 1-7' electric refrigerator; and . . prays judgment for said debt and for the sale of the property levied on, and that the proceeds arising therefrom be applied to the payment and satisfaction of said debt."
The defendant filed a general demurrer to the petition on the grounds that it set forth no cause of action against the defendant and no facts which would entitle him to the recovery prayed for. The court sustained the demurrer and dismissed the petition, and the plaintiff excepted.
The emergency price control act of 1942 (50 U.S.C.A., Appendix, § 902), provides as follows: "(a) Whenever in the judgment of the Price Administrator (provided for in section 201 [section 921 of this appendix]) the price or prices of a commodity or commodities have risen or threaten to rise to an extent or in a manner inconsistent *Page 594 
with the purposes of this act, he may by regulation or order establish such maximum price or maximum prices as in his judgment will be generally fair and equitable and will effectuate the purposes of this act. . . (b) Whenever in the judgment of the administrator such action is necessary or proper in order to effectuate the purposes of this act, he shall issue a declaration setting forth the necessity for, and recommendations with reference to, the stabilization or reduction of rents for any defense-area housing accommodations within a particular defense-rental area." Section 921 (d) provides: "The administrator may, from time to time, issue such regulations and orders as he may deem necessary or proper in order to carry out the purposes and provisions of this act." There is no allegation anywhere in the petition that any regulations were promulgated by the Price Administrator; nor is there set out therein or by exhibit attached thereto, the regulations of said Price Administrator, if any were promulgated, which would affect the housing accommodations in question. It is not alleged that the apartment rented to the plaintiff was located in any area which had been designated by said administrator as a defense-rental area. In fact, it does not appear from the declaration or the attachment, in what county or State the apartment in question is located. It is not alleged that the Price Administrator, or anyone having authority to represent him in such matters, had promulgated any regulation, order, or price schedule, prescribing a maximum rent for housing accommodations in the area in which said house or apartment in question was located. It is not alleged that the Price Administrator, or anyone having authority to represent him in such matters, had promulgated any regulation, order, or price schedule, prescribing a maximum rent for the particular apartment alleged to have been rented by the plaintiff from the defendant.
The declaration in attachment failed to show any right in the plaintiff to recover damages against the defendant, and the court did not err in sustaining the demurrer and dismissing the petition.
Judgment affirmed. Felton and Parker, JJ., concur. *Page 595 